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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------- X
ESPERION THERAPEUTICS, INC.,                            :
                                                        :
                       Plaintiff,                       :
                                                        :      No. 1:23-cv-02568 (ER)
         -against-                                      :
                                                        :
DAIICHI SANKYO EUROPE GMBH.,                            :
                                                        :
                       Defendant.
                                                        :
                                                        :
------------------------------------------------------- X


                                          NOTICE OF APPEARANCE

        The undersigned respectfully enters her appearance as counsel of record for Plaintiff

Esperion Therapeutics, Inc. and has been designated to accept service of all pleadings, notices,

filings, correspondence, and other papers relating to this litigation on behalf of Plaintiff Esperion

Therapeutics, Inc. The undersigned is a member of this Court in good standing.



Dated: May 4, 2023                                          Respectfully submitted,
       New York, New York
                                                            GIBSON, DUNN & CRUTCHER LLP


                                                            By:/s/ Allyson Parks
                                                                Allyson Parks

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